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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
v.                                             :      Criminal Action No.
                                               :      1:21-CR-00129
                                               :
GABRIEL BARCIA,                                :      Judge Amy Berman Jackson
                                               :
                Defendant.                     :



                           MOTION TO WITHDRAW AS COUNSEL

        The undersigned attorney, Charles Haskell, requests that this honorable court enter an

Order permitting the undersigned attorney to withdraw from the case and from further

representation of the Defendant. In support thereof, the undersigned states as follows:

     1. On January 25, 2021 the undersigned appeared in this matter and filed a Motion for

        Admission Pro Hac Vice as the sponsoring attorney for Aubrey Webb, Esq.

     2. On January 28, 2021 the court granted the motion and Mr. Webb entered his appearance

        as counsel for Mr. Garcia.

     3. Mr.Webb has since been admitted as a member of the District Court for the District of

        Columbia and will remain as counsel for Mr. Garcia.

     4. In light of the above, the Defendant will not be prejudiced if counsel is permitted to

        withdraw.

        WHEREFORE, undersigned counsel respectfully requests that this Honorable Court

grant this Motion to Withdraw as Counsel for the Defendant.

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                           Respectfully submitted,


                           /s/ Charles Haskell
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